               Case 1:21-cr-00399-RDM Document 266-1 Filed 03/11/24 Page 1 of 2


Pelker, Catherine (CRM)

From:               Tor Ekeland <tor@torekeland.com>
Sent:               Wednesday, September 7, 2022 12:05 PM
To:                 Brown, Christopher (USADC); Michael Hassard
Cc:                 Pelker, Catherine (CRM); Tart, Michon (USADC)
Subject:            [EXTERNAL] Re: U.S. v. Roman Sterlingov - discovery production


Thx!

       From: Brown, Christopher (USADC) <Christopher.Brown6@usdoj.gov>
       Date: Wednesday, September 7, 2022 at 10:54 AM
       To: Tor Ekeland <tor@torekeland.com>, Michael Hassard <Michael@torekeland.com>, Nicole
       Guitelman
       Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>, Tart, Michon (USADC)

       Subject: RE: U.S. v. Roman Sterlingov ‐ discovery production

       And the hard drives containing data related to the Romania server were sent on 9/6 via FedEx, Tracking # 5592
       6260 2844.

       Regards,
       Chris

       Christopher B. Brown
       Assistant U.S. Attorney
       U.S. Attorney’s Office for the District of Columbia
       Office:                | Mobile:
       Christopher.Brown6@usdoj.gov

       From: Brown, Christopher (USADC)
       Sent: Tuesday, September 6, 2022 8:40 PM
       To: 'Tor Ekeland' <tor@torekeland.com>; 'Michael Hassard' <Michael@torekeland.com>; 'Nicole Guitelman'

       Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>;                                                       >
       Subject: RE: U.S. v. Roman Sterlingov ‐ discovery production

       Counsel – Attached please find another discovery letter, which accompanies the production of discovery,
       available via USAfx:
       Sterlingov Sept. 6, 2022 production | Powered by Box

       Regards,
       Chris

       Christopher B. Brown
       Assistant U.S. Attorney
       U.S. Attorney’s Office for the District of Columbia
       Office:                | Mobile:
       Christopher.Brown6@usdoj.gov
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        Case 1:21-cr-00399-RDM Document 266-1 Filed 03/11/24 Page 2 of 2


From: Brown, Christopher (USADC)
Sent: Tuesday, August 23, 2022 10:30 PM
To: 'Tor Ekeland' <tor@torekeland.com>; 'Michael Hassard' <Michael@torekeland.com>; Nicole Guitelman

Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>;                                                    ov>
Subject: RE: U.S. v. Roman Sterlingov ‐ discovery production

Counsel – Attached please find another discovery letter, which accompanies the production of discovery,
available via USAfx:
https://usafx.app.box.com/folder/170434737621

In addition, please be reminded about the availability of the Romania server discovery, per instructions below.

Thanks, and regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
Office:               | Mobile:                   | Christopher.Brown6@usdoj.gov

From: Brown, Christopher (USADC)
Sent: Thursday, May 12, 2022 12:34 AM
To: Tor Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>;
Subject: U.S. v. Roman Sterlingov ‐ discovery production

Tor and Michael – Attached please find a discovery letter, which accompanies the production of additional
discovery via USAfx here: (41) Sterlingov May 11, 2022 production | Powered by Box

In addition, there is one remaining electronic device discovery item, the server obtained from Romania. To
receive a copy of the Romanian server data, please send a 2TB drive (clearly marked with defendant’s name,
case number, and your return address) to:

        FBI
        Attn:

        Manassas, VA 20109

With these productions, we believe discovery is substantially complete, except as to a handful of miscellaneous
files that we are in the process of reviewing and processing.

Regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
Office:               | Mobile:                   | Christopher.Brown6@usdoj.gov




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